        Case 1:15-cv-07433-LAP Document 1134 Filed 10/21/20 Page 1 of 2




                                         October 21, 2020
VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Giuffre v. Maxwell, Case No. 15-cv-7433-LAP

Dear Judge Preska,

        We represent Plaintiff Virginia Giuffre in this matter and write in response to Defendant
Ghislaine Maxwell’s October 20, 2020, letter, which seeks to further delay the unsealing process
despite both this Court and the Second Circuit having already ruled against her as to these specific
documents, and the redactions that should be applied to them. ECF No. 1129. Each of Maxwell’s
arguments is meritless. 1

        Pursuant to this Court’s October 20, 2020, order (ECF No. 1131), Plaintiff sent Maxwell
copies of her proposed redactions yesterday evening 2 and scheduled a telephone conference to
discuss those materials today. The parties met and conferred this afternoon, but could not reach
agreement on the materials to be unsealed. Whereas Plaintiff’s proposed redactions adhered to
each of the Court’s prior orders (and were reviewed and approved by the Court previously),
Maxwell repeated her assertion that large portions of these materials (including sections of
Maxwell’s deposition transcript) should remain under seal. For the reasons set forth below, the
Court should reject each of Maxwell’s arguments, and allow Plaintiff to file these materials as it
has already ordered.

        Maxwell asserts that Plaintiff’s proposed redactions do not remove “descriptions of
nonparty conduct to discern the identity of a given non-party.” ECF No. 1129 at 1. But this Court
has already reviewed Plaintiff’s proposed redactions and held them to be appropriate. As this
Court held yesterday, “the necessary redactions are intended to be as limited in scope as is
workable.” ECF No. 1127. Maxwell asks the Court to “direct the parties [to] confer as they have
been on proposed redactions,” ECF No. 1129 at 2, but Maxwell’s proposed redactions are
overbroad, and seek to obscure wide swaths of information in a manner wholly inconsistent with
this Court’s (and the Second Circuit’s) direction that any redactions be narrowly tailored.



1
  Pursuant to the Court’s October 21, 2020, order (ECF No. 1133), Plaintiff will withhold the
transcript of Doe 1’s deposition and redact other documents that quote or disclose information
from that transcript.
2
  So that the Court may review the proposed redactions before the parties’ deadline for filing
tomorrow morning, Plaintiff will email chambers a link to access the materials that will be unsealed.
          Case 1:15-cv-07433-LAP Document 1134 Filed 10/21/20 Page 2 of 2




        Maxwell argues that “[c]omplaints by non-parties in the wake of the July 30 unsealings”
somehow support her assertion that the redactions were insufficient. Id. at 1. But it should not
come as a surprise that those “non-parties,” including those implicated as potential abusers within
Jeffrey Epstein’s sex-trafficking conspiracy, would seek to obscure as much information
concerning their conduct as possible. Both this Court and the Second Circuit were able to review
Plaintiff’s proposed redactions, however, and each concluded that they sufficiently obscured
information such that the public would not be able to identify the nonparty being discussed. In
any event, Maxwell’s vague and ambiguous reference to “complaints” from unidentified
individuals, without specific reference to any Doe or description of the unsealed material that
allegedly revealed his or her identity, is merely another ipse dixit argument, similar to other
conclusory assertions this Court has rejected in the past.

        Maxwell also asserts that the Court should stay the unsealing process because “the Second
Circuit’s ruling regarding the appeal was issued late in the day” on Monday, and Maxwell needs
“24-48 hours” in order “to seek any further emergency appellate remedies.” Id. at 2. 3 The Court
should reject Maxwell’s request for several reasons. First, Maxwell cannot now feign surprise that
the Second Circuit rejected her frivolous appeal, and there is no excuse for her delay in seeking
“emergency” relief now. This Court has previously chastised Maxwell for filing “eleventh-hour”
requests, and should not entertain her latest effort to seek reconsideration without a coherent
explanation for her entitlement to relief. ECF No. 1079 at 1, 2 & n.1. Second, there is no
conceivable basis for any “emergency appellate remedy” Maxwell intends to file in the next day
or two. The Second Circuit affirmed this Court’s release of the materials, holding: “The District
Court’s order articulated and applied the correct legal framework in its individualized review of
the materials to be unsealed.” ECF No. 1126 at 3. Given that holding, there is no reasonable basis
to believe that the Second Circuit will grant any motion for rehearing that Maxwell may choose to
file. Maxwell also claims that she may “provide this Court additional information to the extent
consistent with other courts’ rulings that might impact the release of these materials.” ECF No.
1129 at 2. But if it were true (it is not) that Maxwell is able to furnish this Court with anything
that would impact this Court’s ruling, then she should have done so already, and cannot use vague
allusions to “additional information” as a basis for seeking judicial relief. In any event, the Second
Circuit has already rejected this argument in dismissing Maxwell’s criminal appeal, holding that,
“as the District Court [Judge Nathan] correctly noted, Maxwell ‘provides no coherent explanation’
connecting the discovery materials at issue in the criminal case to the civil litigation.” United
States v. Maxwell, No. 20-3061 (2d Cir. Oct. 19, 2020), ECF No. 147 at 4.



                                               Sincerely,

                                               /s/ Sigrid McCawley
                                               Sigrid S. McCawley, Esq.


         cc: Counsel of Record (via ECF)

3
    As of this filing, Maxwell has not filed a request for any “emergency appellate remedy.”
                                                    2
